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     JS« (R~ 06/17)                    EG,3                                          CIVIL COVER SHEET                                                              5 ~{).O-<!_V- 1q1
 The JS 44 CIVIi cover sheet and the mformatmn contamed herem neither replace nor supplement the filmg and service ofpleadm&s or other papers as reqmred by law, except as
 provided by local rules of court This form, approved by the Judicial Conference of the Umted States m September 1974, 1s requtred for the use of the Clerk of Court for the
 purpose of' 1mtlatmg the c1vtl docket sheet (SEE INSTRUCTIONS ON NEXT PAGE OF THIS rORMJ
 I. (a) PLAINTIFFS                                                                                                      DEFENDANTS
     Kevin Johnson, mdiVidually and on behalf                                                     rly situated        Free State Management Group, LLC

           (b) County of Residence of First Listed Plamt                                                               County of Residence of Flfst Listed Defendant
                                         fEXCEPI IN US PLAINTIF                                                                               (IN US PLAINTIFF CASES ONLY)
                                                                                                                        NOTE      IN LAND CONDLMNA TION CASES, USE THE LOCATION OF
                                                                                                                                  THE TRACT OF LAND INVOLVED

       ( C) Attorneys fFmn Name, Address. and Telephone NumheIJ                                                         Attorneys OJ Known)
     Michael Groh Esq., Murphy Law Group, LLC, Eight Penn Center, Suite
     2000, 1628 John F. Kennedy Blvd, Philadelphia, PA 19103,
     267-273-1054
     II. BASIS OF Jl;RISDI                             N (Place an "X" tnOneBoxOnlyJ                       Ill. CITIZENSHIP OF PRINCIPAL PARTIES(Pfacean "X" tnOneBoxforP/amtifj
                                                                                                                    (For DiVersity Cases Only)                                               and One Box/or Defendant)
 '.J I            l; S Government                      Federal Qnestton                                                                      PTF            DEF                                            PTF      DEF
                    Plamttff                             (US Government Not a Party)                           Citizen of llus State         CJ              '.J     I   Incorporated or Pnncipal Place      CJ 4      a
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     '.J 2        U.S Government                 '.J 4 Diversity                                               Cruzen of Another State            '.J 2      [J      2   Incorporated and Pnncipal Place      [J   5   0 5
                    Defendant                             (Indicate Ct11zensh1p of Parties in Item Ill)                                                                     of Business In Another State

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     0 120Manne                              '.J   310 Airplane                ::J 365 Personal Injury •            of Property 21 use 881           CJ 42 3 Withdrawal                    0 376 Qm Tam (31 USC
     '.J 130 Miller Act                      cJ    31 5 Airplane Product                  Product Liability 0 6900ther                                       28 use 151                              3729(a))
     cJ 140 Negottable Instrument                        Liability             ::J 36 7 Health C.are1                                                                                      Ll 400 State Reapporttorunent
     '.J J 50 Recovery of Overpayment        ::J   320 Assault, Libel &                  Phannaceuttcal                                                     Pu• p~u ·v RIGHTS            · a 41 oAnlltrust
                & Enforcement of Judgment                Slander                         Personal Injury                                             0     820 Copynghts                   '.J 430 Banlcs and Banlang
     ::J   151 Medicare Act                  CJ    330 Federal Employers·                Product Liability                                           0     830 Patent                      :J 450 Commerce
     ::J   I 52 Recovery of Defaulted                    Liability             cJ 368 Asbestos Personal                                              cJ    835 Patent • Abbrevtated        0 460 Deportatton
                Student Loans                n     340Manne                               Injury Product                                                       New Drug Apphcatton         0 4 70 Racketeer Influenced and
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                of Veteran· s Benefits       [J    350 Motor Velucle           ::J 370 Other Fraud          ~:O Fmr Labor Standards                  cJ    861 HIA ( 1395:ff)              [J 490 Cable/Sat TV
     [J    160 Stockholders Smts             ::J   355 Motor Velucle           0 371 Truth m Lendmg                 Act                              [J    862 Black Lung (923)            CJ 850 Secunttes/Commodittes/
     0     190 Other Contract                           Product Liability      [J 380 Other Personal            20 Labor/Management                  [J    863 DIWC/DIWW (405(g))                   Exchange
     '.J   195 Contract Product Liability    CJ    360 Other Personal                    Propercy Damage            Relattons                        CJ    864 SSID Title XVI              [J 890 Other S1atutory Acttons
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     CJ    220 Foreclosure                   rJ    441 Votmg                   [J 463 Aben Detatnee                Income Secunty Act                           or Defendant)               •   899 Admirustrattve Procedure
     cJ    230 Rent Lease & E1ecnnent        CJ    442 Employment              ::'J 5 IO Mottons to Vacate                                           !"J   871 IRS • -Third Party                   Act/Revtew or Appeal of
     cJ    240 I orts to Land                0     443 Housmg/                           Sentence                                                               26 use 7f/J9                        Agency DCCJS10n
     '.J   24 5 Tort Product Liability                  Accommodattons         CJ 530 General                                                                                              t'J 950 Constttuttonality of
     ::,   290 All Other Real Property       [J    445 Amer w/D,sabihttes •    '.J 535 Death Penalty                IMMIGRATION                                                                     State Statures
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                                                    Cite the U S Civil Statute under which you are filmg (Do,..,, cite j,,risRictim,11/ stilllltes •11/ess RiversityJ
                         29 U.S C & 201 et sea.
     VI. CAUSE OF ACTION Bnef descnption of cause
                                                     Failure to pay overtime compensation                                                                                                        ~:--
     VII. REQUESTED IN   ISl CHECK IF nus IS A CLASS ACTION                                                        DEMAND$                                           CHF,CK YES only 1(manded 1tcomplamt
          COMPLAINT:          UNDER RULE 23, F RCv P                                                                                                                 JURY DEMAND:        ~ Yeii,  ::1No
     Vin RELATED CASE(S)
                            (See instro,11ons1
          IFANY                                                                                                                                            DOCKET NUMBER
     DATE
     01/10/2020
     FOR OFFICE USE ONLY

           RECEIPT#                      AMOt:NT                                       APPL YING IFP                                Jt:DGE                                      MAG JUDGE

                                                                             fJAN 10 20-20··.
'           . /, . ,,- . '
•.IJ....,_.,,.,.~,
           . r,r\'J,~'w Case 5:20-cv-00197-EGS    Document 1 Filed 01/10/20 Page 21 of 22
                                            liNITED STATES DISTRICT COURT                                                                  20                   197~
                                                           FOR THE EASTERN DISTRICT OF PENNSYLVA.'IJIA
:•· ·" l{ Effi ,.,.""'\Jr,.'\
~- -~    ~~                                                                    DESIGNATION FORl\1
                         (to be used by cowisel or prose plaintiff to indicate the category of the case for the purpose ofassignment to the appropriate calendar)

  Address of Plaintiff:                                             4927 Wissahickon Ave., Philadelphia, PA 19144
                                          - - -. -     -   - .. -    - ... - - - -   --       -        -        -·- . -   -        - - --   .   - -
  Address of Defendant:                                                 211 Baker Road, #297, Barker, TX 77413
  Place of Accident.Incident or Transaction: _ _ _ _ _                             ]84~ Hi_gh~o_in_t_D~ive,~_l!ent~w~,_PA_!810~- _______ _


  RELATED CASE, IF ANY:

  Case Number-                                                        Judge; _ _     _ __                                           Date Terminated:

  Civil cases are deemed related when Yes is answered to any of the following questions:

   I.    Is this case related to property mcluded in an earlier numbered suit pending or within one year
         prev10usly terminated act10n in this court'>
                                                                                                                                       YesD                     o[l]
  2.     Does this case involve the same issue of fact or grow out of the same transactJon as a prior suit                             YesD                 No[l]
         pendmg or within one year previously terminated action in this court?

   3.    Does this case involve the validtty or infringement of a patent already m suit or any earlier                                 YesO
         numbered case pending or within one year previously terminated action of this court?

  4.     Is this case a second or successive habeas corpus, social security appeal, or pro se ciVIl rights                             YesD
         case filed by the same mdividual?

  I certify that, to my knowledge, the within case                                                              now pendmg or within one year previously termmated action in
  this court except as noted above.
   DATE      _01/1_0/2020 __ _                                                                                                                         319296
                                                                                                                                                  Attorney ID   #   (if applicable}


   CIVIL: (Place a ,; ill one category only)

   A.            Federlll Question Cases:                                                         B.       Diversity Jurisdiction Cases:

  •• 2.l.    Indemnity Contract, Marine Contract, and All Other Contracts
                                                                                                • 2.l.          Insurance Contract and Other Contracts


   ••    3
             FELA
             Jones Act-Personal Injury                                                          B          3
                                                                                                                Airplane Personal Injury
                                                                                                                Assault, Defamation
         4   Antitrust
                                                                                               •• 4.5.          Marine Personal Injury

    8 5.
      6
   • 8.
             Patent
             Labor-Management Relations
         7. Civil Rights
                                                                                                •• 6.      7.
                                                                                                                Motor Vehicle Personal Injury
                                                                                                                Other Personal Injury (Please specify) . -
                                                                                                                Products Liability
                                                                                                                                                                - -·-
    • 9.     Habeas Corpus
                                                                                                •• 8.9.         Products Liabihty Asbestos




~
             Securities Act(s) Cases                                                                            All other Diversity Cases
         IO. Social Security Review Cases                                                                       (Please specify) _ ... _ _ _ _
                                                                                                                                                               ------
         11. All other Federal Question Cases
             (Please specify) __ .. _ Fair Labor Standards Act



                                                                               ARBITRATION CERTIFICATION
                                                       (The effect of this certificat1on 1s to remove the case from elig1b1lity for arbitration)

   I            _Mi~h~el_Gr?~ __!§s~. - -                     .. , counsel ofrecord or prose plamtiff, do hereby certify
                 Pursuant to Local Civil Rule 53.2, § J(c) (2), that to the best ofmy knowledge and belief, the damages recoverable in this civil action case
                 exceed the sum of $150,000 00 exclusive of mterest and costs:

        D        Relief other than monetary damages is sought.


   DATE       01/10/2020                                                 ~ ,;de___                                                                     319296
                                                                              Attorney-at-Law I Pro Se Plaintiff                                 Attorney ID    #   (if apphcab/e)

   NOTE A tnal de novo WIii be a tnal by Jury only tfthere has been compliance With FR C P 38

  Civ. 609 {;i/2018)

                                              r   JAN 10 2020
                      Case 5:20-cv-00197-EGS Document 1 Filed 01/10/20 Page 22 of 22

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            .-,
    ·. (t·->\~
                                      IN THE UNITED STA TES DISTRICT COURT
                                   FOR THE EASTER.~ DISTRICT OF PENNSYLVANIA

  ~~~t~ <i..0                     CASE MANAGEMENT TRACK DESIGNATION FORM
..,..-,.,            Kevin Johnson, individually and on
                                                                                         CIVIL ACTION
                     behalf of all others similarly-situated
                                     V.                                         20             197
                  Free State Management Group, LLC
                                                                                         NO.

            In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
            plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
            filing the complaint and serve a copy on all defendants. (See§ 1:03 of the plan set forth on the reverse
            side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
            designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
            the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
            to which that defendant believes the case should be assigned.

            SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

            (a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through§ 2255.                                 ( )

            (b) Social Security - Cases requesting review of a decision of the Secretary of Health
                and Human Services denying plaintiff Social Security Benefits.                                      ( )

            (c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2.          ( )

            (d) Asbestos - Cases involving claims for personal injury or property damage from
                exposure to asbestos.                                                                               ( )

            (e) Special Management - Cases that do not fall into tracks (a) through (d) that are
                commonly referred to as complex and that need special or intense management by
                the court. (See reverse side of this form for a detailed explanation of special
                management cases.)

            (f) Standard Management - Cases that do not fall into any one of the other tracks.


             January IO, 2020
                                                . hOll,~'L~~
                                               M1c le'~dsquire
                                                               A                    Plaintiff Kevin Johnson
            Date                                  Attorney-at-law                   Attorney for
              267-273-1054                      215-525-0210                     mgroh@phillyemploymentlawyer.com


            Telephone                              FAX Number                       E-Mail Address


            (Civ. 660) 10/02




                                               J~N 10 2020
